  Case 18-02053-hb                Doc 111 Filed 07/10/19 Entered 07/11/19 00:40:51                                         Desc Imaged
                                         Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor
                 CSC Developers, LLC                                                     EIN 58−2286904
                 Name


United States Bankruptcy Court District of South Carolina                                Date case filed in chapter 11           4/23/18

Case number: 18−02053−hb                                                                 Date case converted to chapter 7       7/8/19


Official Form 309D (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                       12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                  CSC Developers, LLC
2. All other names used in the
   last 8 years
3. Address                             c/o John R. Stewart, Jr.
                                       2 Shannon Court
                                       Anderson, SC 29626
4. Debtor's attorney                   Robert H. Cooper                                       Contact phone 864−271−9911
   Name and address                    The Cooper Law Firm
                                       150 Milestone Way, Suite B                             Email:
                                       Greenville, SC 29615                                   thecooperlawfirm@thecooperlawfirm.com

5. Bankruptcy trustee                  John K Fort                                               Contact phone 864−237−8284
   Name and address                    PO Box 789
                                       Drayton, SC 29333                                         Email: trustee863@gmail.com
6. Bankruptcy clerk's office           J. Bratton Davis United States                            Hours open 9:00 am
   Documents in this case may          Bankruptcy Courthouse                                     − 5:00 pm
   be filed at this address.           1100 Laurel Street                                        Contact phone             803−765−5436
   You may inspect all records         Columbia, SC 29201−2423
   filed in this case at this office                                                             Date:                     7/8/19
   or online at www.pacer.gov.
7. Meeting of creditors                August 12, 2019 at 10:00 AM                      Location:
   The debtor's representative                                                          Donald Stuart Russell Federal
   must attend the meeting to be       The meeting may be continued or adjourned to a Courthouse, 201 Magnolia Street,
   questioned under oath.              later date. If so, the date will be on the court Spartanburg, SC 29306−2355
   Creditors may attend, but are       docket.
   not required to do so.
                                               *** Valid photo identification required ***
                                                                                                 For more information, see page 2 >




Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set        page 1
  Case 18-02053-hb                Doc 111 Filed 07/10/19 Entered 07/11/19 00:40:51                                         Desc Imaged
                                         Certificate of Notice Page 2 of 5
Debtor CSC Developers, LLC                                                                                       Case number 18−02053−hb

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 9/16/19
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: 9/16/19
                                       of claim:
                                       A Proof of Claim is a signed statement describing a creditor's claim. You can obtain a copy
                                       of the proof of claim form at the Bankruptcy Clerk's Office in Columbia or throught the Court's
                                       website at www.scb.uscourts.gov. Please call the Clerk's Office if you have procedural
                                       questions about the filing of a proof of claim. You may file a claim electronically at
                                       http://www.scb.uscourts.gov/electronic−filing−claims. A secured creditor retains rights in its
                                       collateral regardless of whether that creditor files a Proof of Claim. If you do not file a Proof
                                       of Claim by the "Deadline to File a Proof of Claim" as set forth above side, you might not be
                                       paid any money on your claim from other assets in the bankruptcy case. To be paid, you
                                       must file a Proof of Claim even if your claim is listed in the schedules filed by the debtor.
                                       Filing a Proof of Claim submits the creditor to the jurisdiction of the bankruptcy court, with
                                       consequences a lawyer can explain. For example, a secured creditor who files a Proof of
                                       Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing
                                       Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth
                                       above on this notice apply to all creditors. If this notice has been mailed to a creditor at a
                                       foreign address, the creditor may file a motion requesting the court to extend the deadline.
                                       Do not include this notice with any filing you make with the court.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                      States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the debtor's        The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of            property. If the trustee can collect enough money, creditors may be paid some or all of the
    creditors' claims                  debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
                                       any share of that money, you must file a proof of claim, as described above.

11. Miscellaneous Notice               The Voice Case Information System (VICS) will give status information on cases filed or
                                       converted after 11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at
                                       www.scb.uscourts.gov for further information.
                                       Property of the estate may be abandoned by the trustee at the meeting of creditors unless
                                       creditors or parties in interest object to SC LBR 6007−1.

12. Options to Receive Notices         (1) Anyone can register for the Electronic Bankruptcy Noticing program at
    Served by the Clerk by             bankruptcynotices.uscourts.gov OR (2) Debtors can register for DeBN by filing local form
    Email Instead of by U.S.           'Debtor's Electronic Noticing Request (DeBN)' with the Clerk of Court. Both options are FREE
    Mail                               and allow the clerk to quickly send you court−issued notices and orders by email. See Local
                                       Rule 9036−1.
Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set       page 2
     Case 18-02053-hb         Doc 111 Filed 07/10/19 Entered 07/11/19 00:40:51                 Desc Imaged
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                                      United States Bankruptcy Court
                                       District of South Carolina
In re:                                                                                  Case No. 18-02053-hb
CSC Developers, LLC                                                                     Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0420-7           User: richardso              Page 1 of 3                   Date Rcvd: Jul 08, 2019
                               Form ID: b309d               Total Noticed: 68


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 10, 2019.
db             +CSC Developers, LLC,    c/o John R. Stewart, Jr.,     2 Shannon Court,    Anderson, SC 29626-5660
aty            +Joshua R Hinson,    Rogers Townsend & Thomas, PC,     1221 Main Street, 14th Floor,
                 Columbia, SC 29201-6224
aty            +Murray Stokely Holder,    Holder Padgett Littlejohn & Prickett, LL,      PO Box 1804,
                 Greenville, SC 29602-1804
aty             Robert P. Wood,    PO Box 100200,    Columbia, SC 29202-3200
cr             +Billy J Israel,    c/o Stokely Holder,    Holder Padgett Littlejohn + Prickett, LL,     PO Box 1804,
                 Greenville, SC 29602-1804
cr             +Bruce R Goldberg,    c/o Stokely Holder,    Holder Padgett Littlejohn + Prickett, LL,
                 PO Box 1804,    Greenville, SC 29602,     UNITED STATES 29602-1804
cr             +Dale and Judy Ellis,    c/o Stokely Holder,    Holder Padgett Littlejohn + Prickett, LL,
                 PO Box 1804,    Greenville, SC 29602-1804
intp           +Luke A Burke,    Bannister, Wyatt & Stalvey, LLC,     PO Box 10007,    Greenville, SC 29603-0007
cr             +Lynn and Connie Fleming,    c/o Stokely Holder,     Holder Padgett Littlejohn + Prickett, LL,
                 PO Box 1804,    Greenville, SC 29602-1804
cr             +Stuart Swanson,    c/o Stokely Holder,    Holder Padgett Littlejohn + Prickett, LL,     PO Box 1804,
                 Greenville, SC 29602-1804
543414583     #+Angela Tanner,    106 Chandelle Ridge Drive,    Woodruff SC 29388-9800
543414584     #+Ann and Regan Allen,    4428 S. Prestiwick Road,     Trenton NJ 08641-4123
543414585      +Bannister Wyatt Stalvey, LLC,     401 Pettigru Street,    Greenville SC 29601-3114
543414586      +Bannister, Wyatt & Stalvey, LLC,     PO Box 10007,    Greenville SC 29603-0007
543414587      +Bill and Marian Robinson,    127 Landmark Drive,     Greer SC 29651-7419
543414588      +Billy and Susan Israel,    130 Chandelle Ridge Drive,     Woodruff SC 29388-9800
543414589      +Bruce and Cindy Goldberg,    140 Chandelle Ridge Drive,     Woodruff SC 29388-9800
543481688      +Chandelle Property Owners Association,     c/o Robert P. Wood, Esq.,
                 Rogers Townsend & Thomas, PC,     Post Office Box 100200,    Columbia, SC 29202-3200
543414590      +Chandelle Property Owners Association,     c/o Donald Ryan McCabe, Jr., Esq.,
                 140 Stoneridge Drive, Ste 650,     Columbia SC 29210-8257
543414591      +Chandelle Property Owners Association,     c/o Billy J. Isreal, Jr.,     130 Chandelle Ridge Drive,
                 Woodruff SC 29388-9800
543414592      +Chandelle Runway, LLC,    400 Air Park Drive,     Greer SC 29651-7443
543414593      +Clarkson Walsh & Coulter,    PO Box 6728,    Greenville SC 29606-6728
543414594       Clay and Marshalla Schile,    209 Vista Drive,     Greer SC 29651
543414595      +Dale and Judy Ellis,    109 Landmark Drive,    Greer SC 29651-7419
543414596      +David and Lynn Rexroad,    232 Vista Pointe Drive,     Greer SC 29651-7417
543414597      +Doug and Jane Armstrong,    444 Airpark Drive,     Greer SC 29651-7443
543414598      +Douglas and Nicole Cobb,    PO Box 696,    Fairforest SC 29336-0696
543414599      +Gareth and Jennifer Jacobs,     15 Twinings Drive,    Simpsonville SC 29681-6516
543414600      +Gordon Zuber Estate,    c/o Colonial Trust Co., PR,     PO Box 2817,    Greenville SC 29602-2817
543414601      +Greg and Kerry Steck,    180 Chandelle Ridge Drive,     Woodruff SC 29388-9800
543414602      +Hammet Law Firm, LLC,    223 West Stone Avenue,     Greenville SC 29609-5434
543414603      +Helmut and Silvia Tuemmel,    290 Chandelle Ridge Drive,     Woodruff SC 29388-9719
543414605      +James P. Walsh,    PO Box 6728,    Greenville SC 29606-6728
543414606       Jane Van Wieren Trust,    150 N.E. Naranja Avenue #A,     Port Saint Lucie FL 34983
543414607      +Jean Brockman,    1000 Brockman Road,    Greer SC 29651-7422
543414608      +John K. Dubose III,    PO Drawer 39,    Camden SC 29021-0039
543414609      +John R. Stewart, Jr.,    2 Shannon Court,    Anderson SC 29626-5660
543414610      +Kay Galloway,    116 Cumberland Drive,    Moore SC 29369-9701
543414611      +Ken and Molly Galloway,    120 Landmark Drive,     Greer SC 29651-7419
543414612      +Ken and Ruth Payne,    1004 Brockman Road,    Greer SC 29651-7422
543414613      +Lawrence and Barbara Lewis,     270 Chandelle Ridge Drive,    Woodruff SC 29388-9719
543414614      +Llyod Wayne Patterson,    PO Box 14757,    Greenville SC 29610-4757
543414615      +Lynn and Connie Fleming,    214 Vista Pointe Drive,     Greer SC 29651-7417
543488457      +M. Stokely Holder,    Holder Padgett Littlejohn + Prickett, LL,      PO Box 1804,
                 Greenville, SC 29602-1804
543414616      +McCabe, Trotter & Beverly, PC,     PO Box 212069,    Columbia SC 29221-2069
543414617      +Morgan and Jan Allison,    340 Frontage Road,     Piedmont SC 29673-8920
543414618      +Pat and Andrea Finucane,    108 Landmark Drive,     Greer SC 29651-7419
543414619      +Raymond M. Clark,    2830 Cravenridge Drive NE,     Brookhaven GA 30319-2922
543414621      +Richard L. Patton,    819 E. North Street,    Greenville SC 29601-3101
543414622      +Rob Graham as Trustee,    450 Airpark Drive,    Greer SC 29651-7443
543414623      +Robert and Denise Woods,    731 Sandy Pointe Drive,     Palm Beach Gardens FL 33410-3427
543414626      +Steve and Marilyn Berry,    193 Chandelle Ridge Drive,     Woodruff SC 29388-9800
543414627      +Stu and Marjorie Swanson,    126 Landmark Drive,     Greer SC 29651-7419
543414628     #+Theron and Tameka Burton,    310 Hyde Park Lane,     Mauldin SC 29662-3173
543414629      +Tom and Linda Saniewski,    217 Vista Pointe Drive,     Greer SC 29651-7417
543414630      +Vadim and Yelena Shpakovskiy,     143 S. Lake Emory Drive,    Inman SC 29349-7257
543414631      +Walt and Dianne Fanti,    220 Vista Pointe Drive,     Greer SC 29651-7417
543414632      +Warren and Rhonda Johnson,    518 Airpark Drive,     Greer SC 29651-7444
543414633      +Wendell Hawkins,    103-C Regency Commons Drive,     Greer SC 29650-5259
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District/off: 0420-7                  User: richardso                    Page 2 of 3                          Date Rcvd: Jul 08, 2019
                                      Form ID: b309d                     Total Noticed: 68


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty            +E-mail/Text: ustpregion04.co.ecf@usdoj.gov Jul 08 2019 22:41:49        John Timothy Stack,
                 Office of the United States Trustee,    1835 Assembly Street Suite 953,
                 Columbia, SC 29201-2448
aty            +E-mail/Text: ustpregion04.co.ecf@usdoj.gov Jul 08 2019 22:41:49        Linda Barr,
                 Office of United States Trustee,    1835 Assembly Street,    Suite 953,
                 Columbia, SC 29201-2448
aty             E-mail/Text: thecooperlawfirm@thecooperlawfirm.com Jul 08 2019 22:41:30        Robert H. Cooper,
                 The Cooper Law Firm,    150 Milestone Way, Suite B,    Greenville, SC 29615
tr             +EDI: BJKFORT.COM Jul 09 2019 02:43:00      John K Fort,    PO Box 789,    Drayton, SC 29333-0717
ust            +E-mail/Text: ustpregion04.co.ecf@usdoj.gov Jul 08 2019 22:41:49        US Trustee’s Office,
                 Strom Thurmond Federal Building,    1835 Assembly St.,    Suite 953,    Columbia, SC 29201-2448
intp            E-mail/Text: sheree_phipps@scb.uscourts.gov Jul 08 2019 22:42:09        US Bankruptcy Court,
                 Attn: Systems,   1100 Laurel Street,    Columbia, SC 29201-2423
543414604       EDI: IRS.COM Jul 09 2019 02:43:00      Internal Revenue Service,
                 Centralized Insolvency Operation,    PO Box 7346,   Philadelphia PA 19101-7346
543414624      +E-mail/Text: bankruptcy@sctax.org Jul 08 2019 22:42:06       SC Dept of Rev. & Tax,
                 PO Box 12265,   Columbia SC 29211-2265
543414625      +E-mail/Text: tcraig@spartanburgcounty.org Jul 08 2019 22:41:58
                 Spartanburg County Tax Collector,    366 North Church Street, Ste. 300,
                 Spartanburg SC 29303-3637
                                                                                               TOTAL: 9

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
543414620       ##+Richard Bauer,   113 Timberlake Circle,   Inman SC 29349-9659
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 10, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 8, 2019 at the address(es) listed below:
              John K Fort   trustee863@gmail.com, SC01@ecfcbis.com
              John Timothy Stack    on behalf of U.S. Trustee US Trustee’s Office John.T.Stack@usdoj.gov
              Joshua R Hinson    on behalf of Interested Party   Chandelle Property Oweners Association
               joshua.hinson@rtt-law.com
              Linda Barr    on behalf of U.S. Trustee US Trustee’s Office linda.k.barr@usdoj.gov
              Murray Stokely Holder    on behalf of Creditor Bruce R Goldberg sholder@hplplaw.com,
               lwarren@hplplaw.com
              Murray Stokely Holder    on behalf of Creditor Stuart Swanson sholder@hplplaw.com,
               lwarren@hplplaw.com
              Murray Stokely Holder    on behalf of Creditor Lynn and Connie Fleming sholder@hplplaw.com,
               lwarren@hplplaw.com
              Murray Stokely Holder    on behalf of Creditor Billy J Israel sholder@hplplaw.com,
               lwarren@hplplaw.com
              Murray Stokely Holder    on behalf of Creditor Dale and Judy Ellis sholder@hplplaw.com,
               lwarren@hplplaw.com
              Robert H. Cooper    on behalf of Debtor   CSC Developers, LLC
               thecooperlawfirm@thecooperlawfirm.com, cooperrr84828@notify.bestcase.com
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District/off: 0420-7         User: richardso             Page 3 of 3                   Date Rcvd: Jul 08, 2019
                             Form ID: b309d              Total Noticed: 68


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Robert P. Wood   on behalf of Interested Party   Chandelle Property Oweners Association
               wood@rtt-law.com, WoodLitTeam@rtt-law.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
              US Bankruptcy Court   mark_tyan@scb.uscourts.gov, Lisa_Huppertz@scb.uscourts.gov
                                                                                            TOTAL: 13
